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   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:22-CR-00164-ADA-BAM
12                               Plaintiff,            STIPULATION TO CONTINUE RESTITUTION
                                                       HEARING; FINDINGS AND ORDER
13                         v.
                                                       DATE: March 13, 2023
14   MICHAEL MARCUM,                                   TIME: 10:00 a.m.
                                                       COURT: Ana de Alba
15                               Defendants.
16

17                                              STIPULATION

18          The United States of America, by and through its counsel of record, and MICHAEL MARCUM,

19 by and through his counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for a restitution hearing on March 13, 2023.

21          2.     By this stipulation, both parties move to continue the March 13, 2023 restitution hearing

22 date until March 20, 2023. As the defendant has already pleaded guilty, an exclusion of time is not

23 necessary.

24          IT IS SO STIPULATED.

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          Case 1:22-cr-00164-ADA-BAM Document 37 Filed 02/06/23 Page 2 of 2


 1   Dated: February 3, 2023                               PHILLIP A. TALBERT
                                                           United States Attorney
 2

 3                                                         /s/ ALEXANDRE DEMPSEY
                                                           ALEXANDRE DEMPSEY
 4                                                         Assistant United States Attorney
 5
     Dated: February 3, 2023                               /s/ ERIC KERSTEN
 6                                                         ERIC KERSTEN
                                                           Counsel for MICHAEL MARCUM
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11                                                 ORDER

12        At the request of the parties, the March 13, 2023, restitution hearing in the above case is

13 CONTINUED to March 20, 2023.

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16 IT IS SO ORDERED.

17     Dated:   February 5, 2023
                                                     UNITED STATES DISTRICT JUDGE
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